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A0   91 (Rev. 11/11) Criminal Complaint



                                      UNITED STATES DISTRICT COURT
                                                                      forthe
                                                         Western District of Texas
                                                                                                         2USE?23                     tI:   Iii
                    United States of America                             )

                                 V.                                      )
                                                                                                         ... L.........                          '   ¶;
                                                                                                    .1
                                                                        )       Case No.
                DEFENDANT #1 David RUBIO                                )
                                                                                                         '3   ,-----.-.
               DEFENDANT #2 Marisela TREJO


                            Defendant(s)
                                                                        )
                                                                                                                 5-r1
                                                   CRIMINAL COMPLAINT
          I,   the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       09/19/20 19                   in the county   of                        El Paso                          in the
      Western           District of              Texas            ,   the defendant(s) violated:

                Code Section                                                      Offense Description
8 U.S.C. 1324 (a)(1)(A)(v)(I), (A)(ii)            knowingly, intentionally, and unlawfully conspired, combined, confederated,
and (a)(1)(B)(1)                                  and agreed together, and with others known and unknown, to commit
                                                  offenses against the United States, namely: knowing and in reckless
                                                  disregard of the fact that an alien has come to, entered, and remained in the
                                                  United States in violation of law, did transport, move, and attempt to transport
                                                  and move such alien within the United States by means of transportation and
                                                  otherwise, in furtherance of said violation of law.


          This criminal complaint is based on these facts:
Charge #1: DEFENDANT #1 David RUBIO
           DEFENDANT #2 Marisela TREJO




               ( Continued on the attached sheet.


                                                                                                         Complainant s signature

                                                                                           Jorge Rangel, Border Patrol Agent
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:               09/23/2019
                                                                                                              Vudge 's   signature

City and state:                            El Paso, Texas                              Miguel A. Torres, U.S. Magistrate Judge
                                                                                                  Printed name and title
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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

DEFENDANT #1 David RUBIO
DEFENDANT #2 Marisela TREJO

PEPT# 1909788


09/19/2019

FACTS        (CONTINUED)
On September 19, 2019 at approximately 12:19 a.m., a Border Patrol Agent observed an individual running
across the Cesar Chavez Border Highway .56 miles east of the Bridge of the Americas Port of Entry in El
Paso, Texas which is in the Western District of Texas. As Agents were responding north of the area, they
noticed additional individuals running in the neighborhood north of that area, and an additional four individuals
run across the Cesar Chavez Border Highway into the neighborhood.

Agents responded to the neighborhood in order to assist the other Agents. As they arrived an Agent observed
a black in color Chevrolet Cobalt driving south on S. Boone St, and come to a stop at the dead end which
faces the Cesar Chavez Border Highway. The Agent then witnessed 2 individuals run out of the east side of S.
Boone St toward the vehicle and board the vehicle from the passenger side of the vehicle. The vehicle then
drove north on S. Boone St., and the Agents proceeded to follow the vehicle until it pulled in to the Family
Dollar store located at 5018 Alameda Ave in El Paso, Texas. Agents exited their government vehicles and
approached the Black Chevrolet Cobalt as it was parked in the Family Dollar. An Agent approached the
driver's side of the vehicle and observed four individuals in the vehicle. The Agent identified himself as a
United States Border Patrol Agent to the driver, later identified as Defendant 1 Rubio, David, and the rest of the
passengers. The Agent proceeded to question the individuals to their immigration status. Defendant I stated
that he was a United States citizen. The front passenger, later identified as Defendant 2 Trejo, Marisela, stated
that she was a United States Citizen. The backseat passengers admitted to not being United States Citizens,
and not having immigration documents to be in the United States. The Agent placed all of the individuals under
arrest.

Defendant 1 was read his Miranda Rights to which he understood and invoked to have legal counsel present
during questioning.

Defendant 2 was read her Miranda Rights to which she understood and waived her right to an attorney and
provided a sworn statement as to her involvement in the smuggling scheme:

Defendant 2 admitted that her and her boyfriend (Defendant 1) received a call from a person only known to her
as "Luis" to go pick up illegal aliens who had just crossed illegally. Defendant 2 stated that "Luis" sent her a
pick up location in a map through WhatsApp. Defendant 2 said she told "Luis" what car they would be in in
order for him to tell the illegals what car would pick them up. Defendant 2 stated that once in the location that
was sent to them two people ran to the car to which she admitted the let in the car. Defendant 2 stated that
once they were driving away, she received another call from "Luis" telling them to turn back around as there
were more illegals waiting to be picked up in the same location. She also stated that they would receive
between $150 dollars to $250 dollars. Defendant 2 stated that her boyfriend (Defendant 1) knew they were
also going to pick up illegal aliens because she would translate what "Luis' would tell her to him.

Out of the 2 illegal aliens, I was retained as a material witness:
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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

DEFENDANT #1 David RUBIO
DEFENDANT #2 Marisela TREJO

PEPT# 1909788

09/19/2019

FACTS       (CONTINUED)
Material Witness provided the following statement:

Material Witness I states that he contacted a smuggler who was going to charge him $800 dollars to have him
smuggled in. Material Witness 1 stated that once they jumped the fence they ran into the neighborhood and
hid. Once they were hiding, the smuggler called him and asked him for his location to be sent to him through
WhatsApp. Material Witness 1 states that after he sent their location they were told that a black car was going
to arrive close to them and for them to board that vehicle. Material Witness explained that after a short while a
black vehicle arrived near their location and opened the passenger door for them to enter the vehicle.


Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.



Immigration History:
DEFENDANT # 1 is a United States citizen
DEFENDANT # 2 is a United States citizen.

Criminal History:
DEFENDANT # 1:
05/26/2011, El Paso, TX, Possession Dangerous Drug, Misd, 10 Days Jail.
06/26/2019, El Paso, TX, Driving While Intoxicated, Misd, 30 Days Jail.


DEFENDANT #2:
07/29/2019, El Paso, TX, Driving While Intoxicated, Misd, 365 Days Jail, 18 Months Probation, $750 Fine.
